             Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JOE HOLCOMBE and CLARYCE               §
HOLCOMBE, Each Individually, as Heirs at
                                       §
Law and as Representatives of the Estate of
                                       §
JOHN BRYAN HOLCOMBE, Deceased          § CIVIL ACTION NO. 5:18-cv-00555
                                       §
vs.                                    §
                                       §
THE UNITED STATES OF AMERICA           §
______________________________________________________________________________

             PLAINTIFFS’ ORIGINAL COMPLAINT FOR DAMAGES
                  UNDER THE FEDERAL TORT CLAIMS ACT
______________________________________________________________________________

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       COME NOW, Joe Holcombe and Claryce Holcombe, Each Individually, as Heirs at Law

and as Representatives of the Estate of John Bryan Holcombe, Deceased (“Plaintiffs”), and file

this Complaint for Damages against The United States of America (“Defendant USA”) pursuant to

the Federal Tort Claims Act and for cause of action would show this Honorable Court the

following:

                                                 I.

                                              Parties

1.     Plaintiffs are residents of Texas.

2.     Plaintiff Joe Holcombe is the surviving father of Decedent John Bryan Holcombe.

3.     Plaintiff Claryce Holcombe is the surviving mother of Decedent John Bryan Holcombe.

4.     Plaintiffs are proper parties under Texas law to bring a claim for the wrongful death of their

       son, John Bryan Holcombe.

5.     Defendant The United States of America may be served with process by delivering a copy

       of the Summons and Complaint via certified mail to each of the following:

                                                 1
          Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 2 of 19




     a.      John F. Bash, Esq., United States Attorney for the Western District of Texas, 601

             NW Loop 410, Suite 600, San Antonio, Texas 78216, Attn: Civil Process Clerk;

     b.      Jeff Sessions, Esq., Attorney General of the United States, U.S. Department of

             Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530-0001, Attn: Civil

             Process Clerk;

     c.      Department of Defense, 1400 Defense Pentagon, Washington, DC 20301-1400;

             and

     d.      Dr. Heather Wilson, Ph.D., Secretary of the United States Air Force, 1670 Air

             Force Pentagon, Washington, DC 20330-1670.

                                             II.

                                  Jurisdiction and Venue

6.   This action is brought pursuant to the Federal Tort Claims Act, 28 U.S.C. §§ 2671 et seq. &

     § 1346, et seq. for money damages for death that was caused by institutional failures and

     the negligent or wrongful acts or omissions of one or more employees of the United States

     government (including any employee or service personnel charged with implementing and

     making sure existing policies and procedures were followed, any charged with ensuring

     policies and procedures were adequate and/or responsible for making any necessary

     revisions or modifications to such policies and procedures, and any whose duties included

     reporting convictions to national databases) while acting within the course and scope of

     their office or employment under circumstances where Defendant USA, if a private person,

     would be liable to Plaintiffs in accordance with Texas law.

7.   This action arises out of an incident that occurred in Wilson County, Texas, the same

     county in which Plaintiffs reside. Wilson County is in the Western District of Texas, San

     Antonio Division.

                                              2
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 3 of 19




8.    Venue is proper in this Court pursuant to 28 U.S.C. § 1402(b) because the incident

      occurred in Wilson County, Texas.

                                               III.

                                     Conditions Precedent

9.    Pursuant to 28 U.S.C. § 2675(a), Plaintiffs timely presented their claims to the United

      States by submitting Forms SF-95 to the Secretary of the Air Force, Dr. Heather Wilson,

      via USPS Priority Mail Express to the U.S. Air Force Claims & Tort Litigation Division,

      1500 West Perimeter Road #1700, Joint Base Andrews, Maryland 20762, on November

      28, 2017. Notification of delivery on December 4, 2017 was later received. (See Forms

      SF-95, cover letters, and return receipts attached as Exhibit A.)

10.   Receipt of the claims (Air Force Claim Nos. 18-3929 and 18-3030) by the Department of

      the Air Force on December 5, 2017 was acknowledged by attorney Bradford S. Hunt,

      Chief, General Torts Branch, Air Force Claims and Tort Litigation Division. (See Hunt

      correspondence acknowledge receipt of claims attached as Exhibit B.)

11.   As of June 5, 2018, more than six months have elapsed since the claim was presented to the

      Defendant USA and Defendant USA has not made a final disposition of Plaintiffs’ claims.

      Accordingly, the claims of the Plaintiffs are deemed denied pursuant to 28 U.S.C. §

      2675(a).

12.   Plaintiffs have exhausted their administrative remedies under the Federal Tort Claims Act

      and have fully complied with the statutory prerequisites for bringing this tort action against

      the Defendant USA.




                                                3
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 4 of 19




                                               IV.

                                   Specific Operative Facts

13.   The preceding paragraphs are incorporated herein and re-alleged as if fully set forth herein.

14.   On Sunday, November 5, 2017, twenty-six (26) innocent people, including John Bryan

      Holcombe (“JB Holcombe”), were murdered and twenty (20) others wounded in a mass

      shooting at the First Baptist Church of Sutherland Springs in Sutherland Springs, Texas.

      Plaintiffs’ decedent was murdered as he walked to the pulpit to lead the congregation in

      worship.

15.   It is undisputed that the perpetrator and sole shooter in the incident was former U.S. Air

      Force Airman Devin P. Kelley (also “the shooter” and/or “Airman Kelley”).

16.   On leaving the church, the shooter was confronted by a good Samaritan who shot him

      twice, once in the leg and once in the chest.

17.   The shooter fled the scene and was involved in a high-speed car chase which concluded in

      the shooter taking his own life after his car veered off the road.

18.   Plaintiffs allege that while the shooter “pulled the trigger,” resulting in JB Holcombe’s

      death, it was failures of the United States Air Force (“US Air Force”) and others that

      allowed the shooter to purchase, own and/or possess the semiautomatic rifle, ammunition

      and body armor he used in the shooting spree, and such failures were a proximate cause, in

      whole or in part, of the injuries to and death of JB Holcombe.

19.   Years before the shooting in which JB Holcombe was killed, then Airman Kelley was

      court-martialed and convicted of assault against his wife and young stepson. He was

      sentenced to twelve months’ confinement in a Navy brig in San Diego, California and

      given a bad-conduct discharge.

20.   That conviction made it illegal for the shooter to purchase or possess a firearm and should

                                                4
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 5 of 19




      have blocked him from ever again purchasing any gun. As a result of the criminal

      conviction, the Defendant USA was required to, amongst other things, enter this

      information into various federal computer databases advising that Airman Kelley had been

      convicted of crimes that prevented him from purchasing, owning and/or possessing

      firearms. But Airman Kelley was able to purchase an assault-style rifle as a direct result

      of the US Air Force’s admitted, systemic and long-standing failure to comply with the law

      and its own internal policies, rules, regulations and guidelines. The shooter then used that

      weapon on November 5, 2017 to massacre 26 people and wound twenty more.

21.   Legal obligations were long ago imposed on the US Air Force that are necessary to prevent

      such a tragedy, but the US Air Force did not meet such obligations.

22.   The United States of America is liable for the negligent failures, acts and omissions of the

      US Air Force, its employees and members of the Armed Forces.

23.   JB Holcombe died, and Plaintiffs have suffered and will suffer injuries and damages as a

      direct and proximate result of the Sutherland Springs shooting.

24.   As a result, Plaintiffs seek all elements of actual damages recoverable by law.

25.   Plaintiffs each claimed $25,000,000.00 in damages in their administrative claims and seek

      damages in such amounts here.

                                   CAUSES OF ACTION

                                              V.

                                          Negligence

26.   The preceding paragraphs are incorporated and re-alleged as if fully set forth herein.

27.   JB Holcombe’s death was caused, in whole or in part, by the institutional failures of the

      United States Department of Defense, including, but not limited to, the US Air Force, in

      that these entities negligently, recklessly, carelessly and/or egregiously failed to report

                                               5
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 6 of 19




      pertinent criminal arrest and conviction information of the shooter into a federal database,

      as required by law and which would have prevented and barred the shooter from

      purchasing, owning, and/or possessing the firearms that he used in the shooting.

28.   The Department of Defense was aware as far back as 1997, and more specifically by at

      least 2015, that the United States Air Force routinely failed to report such required criminal

      arrest and conviction information.

29.   As a result of an internal review conducted by the Inspector General of the Department of

      Defense which uncovered these repeated failures, the US Air Force agreed to take “prompt

      action to ensure” that convicted offenders are properly reported to the appropriate federal

      database to prevent them from legally purchasing, owning, and/or possessing firearms.

30.   Despite this notice and call to action, the Department of Defense, specifically including,

      but not limited to, the United States Air Force, utterly failed in its reporting obligations

      which was the proximate cause of JB Holcombe’s death.

31.   The US military, specifically including the US Air Force, designed and implemented

      policies, procedures, regulations and/or guidelines that were specifically designed to

      prevent individuals such as the shooter from purchasing, owning and/or possessing

      firearms and body armor. It is the failure by the US Air Force to abide by these policies,

      procedures, regulations and/or guidelines that directly caused this horrific tragedy.

32.   It is undisputed that the shooter was a member of the US Air Force, having been on active

      duty from 2009 until 2014 and stationed at Holloman Air Force Base located in Otero

      County, New Mexico.

33.   In 2011, Airman Kelley married Tessa K. Loge, who had an infant son from a previous

      marriage. After his marriage, Airman Kelley was arrested for assault upon his wife and

      her son, wherein he inflicted serious injuries upon the two, including, but not limited to,

                                                6
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 7 of 19




      fracturing the skull of the infant boy. He was also charged with pointing a loaded gun at

      his wife and two counts of threatening his spouse with an unloaded firearm.

34.   Upon information and belief, because of these criminal charges a general court martial was

      convened and Airman Kelley was convicted of assault on his wife and her son on

      November 7, 2012. Due to these convictions, Airman Kelley was sentenced to a year in

      military jail.

35.   At that time, Airman Kelley admitted striking the infant boy “with a force likely to produce

      death or grievous bodily harm.” With respect to the assault against his spouse, Airman

      Kelley admitted that he “hit, kicked, choked and pulled the hair” of his wife.

36.   The couple were divorced while Airman Kelley served his jail sentence in a naval brig

      located in San Diego, California.

37.   Airman Kelley was also known to have made threats against his superiors in the US Air

      Force as well as to have attempted to smuggle guns onto the base in violation of Air Force

      regulations and base standard operating procedures.

38.   Given the nature of the criminal charges pending against Airman Kelley, in the Spring of

      2012 the Air Force involuntarily committed him to Peak Behavioral Health Services, a

      mental facility located in Santa Teresa, New Mexico which has a dedicated unit for US

      military personnel.

39.   On June 7, 2012, Airman Kelley jumped a fence and escaped from the mental facility. He

      was apprehended by local law enforcement later that same day and returned to the facility

      to await his court martial.

40.   At the time of his apprehension, it was noted by local authorities that Airman Kelley was

      suffering from mental health issues and that he was a “danger to himself and others.”

41.   After capture, Airman Kelley was detained at the mental health facility and ordered into

                                               7
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 8 of 19




      pre-trial confinement while awaiting his court martial.

42.   Upon information and belief, during this time, Airman Kelley used computers at the

      facility to attempt to purchase weapons and tactical gear via the Internet and have those

      items shipped to a post office box in San Antonio, Texas.

43.   Upon information and belief, the US Air Force was specifically aware that Airman Kelley

      attempted to make these firearm purchases while a detainee at the mental health facility.

44.   Eventually, in May of 2014, after serving his military prison sentence, the US Air Force

      discharged Airman Kelley with a “bad conduct discharge.”

45.   As with his prior criminal convictions, the US Air Force utterly failed to enter his “bad

      conduct discharge” into federal databases. A “bad conduct discharge” following court

      martial was yet another event that should have disqualified the shooter from purchasing,

      owning or possessing firearms and ammunition.

46.   Due to the foregoing, and most notably the shooter’s assault convictions, bad conduct

      discharge post-court martial, and involuntary commitment to a mental facility, the US Air

      Force, specifically including, but not limited to, the Office of Special Investigations at

      Holloman Air Force Base (“AFOSI”), and/or the HQ Air Force Security Forces

      (“HAF/A4S”), was required to enter his November 2012 criminal arrest and conviction

      information into certain computerized databases, specifically including the FBI’s Criminal

      Justice Information Systems (“CJIS”).

47.   The CJIS comprises various computer databases, specifically including the National Crime

      Information Center (“NCIC”) database, Uniform Crime Reporting, Fingerprint

      Identification and the Integrated Automated Fingerprint Identification System (IAFIS)

      Program which includes both fingerprint and final criminal disposition data.

48.   These are computerized databases ready for access by an authorized entity making an

                                               8
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 9 of 19




      inquiry into an individual’s background and for prompt disclosure of information in the

      system from other criminal justice agencies about crimes and criminals.

49.   Specifically, the NCIC database is accessed for a number of purposes, and is one such

      database that is required to be accessed whenever a person seeks to legally purchase certain

      firearms. Certain criminal convictions, specifically including those of which Airman

      Kelley was convicted, are required to be entered into the NCIC and other CJIS-related

      databases.

50.   Had Airman Kelley’s criminal arrest and conviction and/or bad conduct discharge

      information been entered, as was required by US Air Force policies, procedures,

      regulations and/or guidelines, Airman Kelley would have been prevented and prohibited

      from purchasing, owning and/or possessing firearms and body armor, specifically

      including the firearm and body armor that he used in the Sutherland Springs shooting.

51.   Significantly, the Department of Defense has promulgated regulations that impose upon

      the various branches of the military, specifically including the US Air Force, certain

      reporting requirements when a serviceman is convicted of a crime. See DEP’T OF DEF.,

      INSTRUCTION 5505.11: FINGERPRINT CARD AND FINAL DISPOSITION REPORT

      SUBMISSION                REQUIREMENTS                  7,           available            at

      http://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodi/550511p.pdf              (last

      updated Mar. 30, 2017), and subsequent revisions/changes.

52.   It is undisputed and has been readily admitted by the US Air Force in the days following

      the horrific Sutherland Springs shooting tragedy that Airman Kelley’s convictions and

      criminal history were required to be entered into the NCIC database and/or CJIS system,

      but for reasons not presently known the US Air Force utterly failed in its reporting

      obligations.

                                               9
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 10 of 19




53.   It is also undisputed that had the information been entered into these databases by the US

      Air Force at the time of his convictions in and around November 2012, as was required,

      Airman Kelley would have been prevented, prohibited and barred from purchasing,

      owning and/or possessing the firearms and body armor used in this massacre and this

      tragedy would not have occurred.

54.   The failures of the Department of Defense, specifically including the US Air Force, are not

      limited to the failure to timely and accurately enter and/or report Airman Kelley’s criminal

      conviction information into the appropriate computer database in November 2012.

55.   In February 2015, the Inspector General for the U.S. Department of Defense conducted a

      comprehensive review of the failures of the branches of the US military to promptly and

      accurately input criminal conviction information into the appropriate computer databases,

      specifically including the NCIC database. See Evaluation of Department of Defense

      Compliance with Criminal History Data Reporting Requirements, Report Number

      DODIG-2015-081, dated February 12, 2015 (the “IG’s Report”).

56.   The IG’s Report examined the continuing failures of conviction reporting by the US Navy,

      US Air Force and US Marines. Indeed, the Inspector General recognized that, as far back

      as 1997, the branches of the US military had not consistently submitted the required

      criminal arrest and conviction information to appropriate federal law enforcement

      agencies, including criminal information databases. See IG’s Report, at p. 12.

57.   With respect to the US Air Force, the 2015 study took a sample of convicted individuals

      from June 2010 through and including October 31, 2012 (as mentioned above, Airman

      Kelley was convicted in November 2012, just days after the sample period). During this

      time frame, the Inspector General found that there were 358 criminal convictions of US Air

      Force personnel that mandated reporting obligations.

                                              10
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 11 of 19




58.   However, only 248 fingerprint cards were entered into the appropriate database,

      representing a failure rate of approximately 31%.        With respect to final criminal

      disposition information regarding these 358 convictions, only 245 final dispositions were

      reported, representing a failure rate of approximately 32%.

59.   Due to these alarming failure rates (more than 3 out of 10 failures by the US Air Force to

      report required criminal arrest and conviction information), the Inspector General made

      certain recommendations to the branches of the US military, specifically including the US

      Air Force.

60.   The first recommendation was for the US Air Force to submit and enter the missing

      fingerprint and final criminal disposition information for the sample period into the

      appropriate computer databases.

61.   Upon review of the Inspector General’s Report, the US Air Force “agreed” with this

      recommendation.     Unfortunately, Airman Kelley’s conviction occurred in November

      2012, a mere one month outside the sample examined by the Inspector General.

62.   The Inspector General also recommended that due to the high failure rate the US Air Force

      “take prompt action” to ensure that all arrestee information is properly reported and

      entered in the various criminal history databases.

63.   The US Air Force also specifically “agreed” with the Inspector General’s recommendation.

      See IG’s Report, at p. 10.

64.   Notwithstanding that the US Air Force was specifically aware in 2015 (and likely well

      before) that criminal conviction information was not reported more than 3 out of 10 times

      on average, and despite acknowledging that it would “promptly ensure” that such systemic

      failures were corrected, the US Air Force utterly failed the general public, and more

      specifically Decedent JB Holcombe, by failing to ensure that Airman Kelley’s criminal

                                              11
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 12 of 19




      arrest and convictions were properly reported.

65.   Despite its specific prior knowledge, the US Air Force utterly and carelessly failed in its

      reporting obligations which allowed this tragedy to occur and JB Holcombe to be killed.

66.   Had the US Air Force done as required, the shooter would not have been able to purchase,

      own and/or possess the automatic rifle and body armor that he used to slaughter and injure

      more than 46 individuals.

67.   Plaintiffs’ allegations of negligence are not limited to the fact that the US Air Force’s

      failures allowed Airman Kelley to purchase, own and/or possess firearms. The utterly

      careless and reckless failures of the US Air Force to satisfy its reporting obligations with

      respect to Airman Kelley’s criminal arrest and convictions resulted in numerous missed

      opportunities for various local law enforcement agencies to prevent further violence by

      Airman Kelley.

68.   Upon information and belief, after his bad conduct discharge from the military, local law

      enforcement personnel made more than 17 visits to the shooter’s home on allegations

      ranging from animal cruelty to domestic violence and sexual assault.

69.   For example, on or about June 7, 2013, Comal County, Texas deputies responded to the

      shooter’s home to investigate a report of “rape by force” allegedly perpetrated by the

      shooter.

70.   Without information about the shooter’s prior convictions, deputies investigated the report

      for months, but no charges were brought once investigators believed Devin P. Kelley

      moved to Colorado.

71.   Had the information regarding Airman Kelley’s criminal arrest and conviction for

      domestic violence been entered, as was required, Comal County law enforcement would

      have been aware of that information and perhaps been able to bring felony charges under

                                              12
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 13 of 19




      the Texas Penal Code against Devin P. Kelley in 2013.

72.   In early 2014, local police in Texas responded to the shooter’s home to investigate reports

      of domestic abuse of his then girlfriend, Danielle Shields, but charges were not pursued

      after Shields told responding officers the report was the result of a misunderstanding.

73.   Had the US Air Force reported Airman Kelley’s criminal arrest and convictions for

      domestic violence, local law enforcement would have had reason to further investigate any

      claim of misunderstanding and perhaps pursued felony charges under the Texas Penal

      Code against Airman Kelley in 2014.

74.   In August 2014, Colorado law enforcement responded to the shooter’s home to investigate

      claims of animal cruelty allegedly perpetrated by the shooter, resulting in a standoff with

      police once the shooter refused to come out of the home.

75.   Without information about the shooter’s prior convictions, law enforcement issued Devin

      P. Kelley a citation rather than arresting him.

76.   Had Colorado local law enforcement had information regarding Airman Kelley’s violent

      criminal past, perhaps he would have been arrested and incarcerated in August of 2014.

77.   Had the information regarding Airman Kelley’s criminal arrest and conviction been

      entered, as was required, local law enforcement would have been aware of that information

      when they conducted various welfare checks at the shooter’s home in Texas in the months

      leading up to the shooting.

78.   Upon information and belief, local law enforcement also visited the shooter’s home due to

      domestic assault allegations.

79.   Had law enforcement known that the shooter was convicted of a prior domestic assault,

      they may have properly entered the home and seized any weapons that were visible or

      pursued felony charges under the Texas Penal Code against the shooter at that time.

                                               13
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 14 of 19




80.   As with his military convictions, any conviction for domestic violence after the shooter

      was discharged from the military would have likewise barred, prohibited and/or prevented

      Devin P. Kelley from purchasing, owning and/or possessing firearms, ammunition and

      body armor, including the semiautomatic rifle and body armor used in the massacre.

81.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including, but not limited to: that the US Air Force failed to adhere to the

      regulations, policies, procedures, and/or guidelines issued by the Department of Defense in

      failing to report the shooter’s criminal arrest and convictions to appropriate federal law

      enforcement agencies and databases, as was required, thereby allowing the shooter to

      purchase the semiautomatic rifle and body armor used in the massacre.

82.   Had the US Air Force complied with its necessary and mandatory reporting requirements,

      the shooter would have been barred, prohibited and/or prevented from purchasing, owning

      and/or possessing firearms and body armor, including the semiautomatic rifle and body

      armor used in the massacre and thus, the shooting would not have taken place.

83.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including, but not limited to the US Air Force failing to comply with

      Department of Defense regulations, policies, procedures, and/or guidelines, specifically

      including, but not limited to, Department of Defense INSTRUCTION, Number 5505.11 and

      subsequent revisions/changes, thereby allowing the shooter to purchase the firearm and

      body armor used in the shooting.

84.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

                                              14
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 15 of 19




      Air Force, including, but not limited to the US Air Force failing to correct known

      deficiencies in its criminal arrest and conviction reporting obligations.

85.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including, but not limited to its failure of the US Air Force, despite its public

      statements to the contrary, to adhere to or heed the recommendations promulgated by the

      Inspector General of the Department of Defense concerning its systemic failures to

      properly report arrest and criminal conviction information.

86.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including but not limited to the US Air Force failing to comply with its

      obligations and duties regarding criminal arrest and conviction reporting.

87.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including but not limited to the US Air Force being specifically aware for years

      before the shooting that it had consistently failed to report required arrest and criminal

      conviction information but failing to correct these deficiencies and failing to appropriately

      abide by and follow its own internal procedures regarding criminal arrest and conviction

      information.

88.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including but not limited to the US Air Force creating a dangerous condition to

      the public, and specifically to Decedent JB Holcombe, by its failure to adhere, comply

      and/or follow required criminal arrest and conviction information reporting obligations.

                                               15
        Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 16 of 19




89.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including, but not limited to the US Air Force breaching the duty of care owed to

      the public generally, and to Decedent JB Holcombe specifically, by its failure to report

      required criminal arrest and conviction information.

90.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including but not limited to the US Air Force failing to discuss its deficiencies

      with other branches of the US military and/or other governmental agencies in an attempt to

      correct these known deficiencies.

91.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, including, but not limited to the US Air Force unleashing on the public a

      dangerous individual who had the ability to purchase firearms and body armor when he

      should have been prevented from doing so.

92.   Based upon the foregoing, the death of JB Holcombe was caused, in whole or in part, by

      the negligence, recklessness, and/or carelessness of the Defendant USA, through the US

      Air Force, all of which, individually and/or jointly, proximately caused, in whole or in part,

      the subject shooting, the death of JB Holcombe and Plaintiffs’ damages set forth herein.

                                 NO EXCEPTIONS APPLY

                                               VI.

93.   None of Plaintiffs’ claims asserted herein are subject to any of the exceptions to sovereign

      immunity found in 28 U.S.C. § 2680.

94.   Defendant USA, including the US Air Force and its employees, failed to meet the required

                                               16
         Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 17 of 19




       reporting obligations as described herein.

95.    Defendant USA, including the US Air Force and its employees, failed to exercise due care

       in the execution of its duties under the required reporting obligations described herein.

96.    The reporting obligations described herein do not involve discretionary functions or duties.

                                          DAMAGES

                                               VII.

                                        Wrongful Death

97.    The preceding paragraphs are incorporated and re-alleged as if fully set forth herein.

98.    Plaintiffs bring this action as the surviving wrongful death beneficiaries of JB Holcombe.

99.    This action is brought pursuant to Tex. Civ. Prac. & Rem. Code §§ 71.002-.004, commonly

       referred to as the “Wrongful Death Act,” and pursuant to the terms and provisions of Tex.

       Civ. Prac. & Rem. Code § 71.021, known as the “Survivor’s Act,” and any and all other

       applicable laws including the common law of the State of Texas.

100.   No administration of the estate is pending and no administration is necessary. Further, no

       administrator has been appointed in this action.

101.   As a direct and proximate result of the negligent conduct and failures of Defendant, JB

       Holcombe died and Plaintiffs have suffered damages.

102.   As the surviving parents of JB Holcombe, Deceased, Plaintiffs are statutory beneficiaries

       of Decedent.

103.   By reason of the shooting and the death of JB Holcombe, Plaintiffs have suffered past and

       future pecuniary loss, meaning the loss of the care, maintenance, support, services, advice,

       counsel, and reasonable contributions of a pecuniary value, that Plaintiffs, in reasonable

       probability, would have received from JB Holcombe had he lived.

104.   By reason of the shooting and the death of JB Holcombe, Plaintiffs have suffered past and

                                                17
            Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 18 of 19




       future loss of companionship and society, meaning the loss of the positive benefits flowing

       from the love, comfort, companionship, and society that Plaintiffs, in reasonable

       probability, would have received from JB Holcombe had he lived.

105.   By reason of the shooting and the death of JB Holcombe, Plaintiffs have suffered past and

       future mental anguish, meaning the emotional pain, torment, and suffering experienced by

       Plaintiffs because of the death of JB Holcombe, Deceased.

106.   The Estate of JB Holcombe, Deceased, is also entitled to bring action on behalf of

       Decedent for the physical pain and mental anguish he was caused to endure from the time

       he was shot until the time of his death as a result of the negligence of Defendant.

                                                VIII.

                                             PRAYER

       WHEREFORE, Plaintiffs pray and respectfully demand verdict and judgment as follows:

       a.       That summons and process issue and the Defendant be served with this Complaint

                as required by law and that Defendant be required to appear and answer;

       b.       That Plaintiffs’ claims under the Federal Torts Claims Act against the Defendant

                United States of America be tried to a judge sitting as the fact finder;

       c.       That Plaintiffs be awarded the damages sought herein in an amount determined by

                the trier of fact;

       d.       That Defendant be charged with all costs and other expenses attributable to this

                action to the maximum extent permitted by law under the Federal Tort Claims Act;

                and

       e.       That Plaintiffs be granted such other and further relief as is supported by the

                evidence and authorized by law that the Court may deem appropriate.




                                                 18
Case 5:18-cv-00555-XR Document 1 Filed 06/06/18 Page 19 of 19




                           Respectfully submitted,

                           THE AMMONS LAW FIRM, L.L.P.

                             /s/ Robert E. Ammons
                           ROBERT E. AMMONS, Attorney-in-Charge
                           Bar No. 01159820
                           Email: rob@ammonslaw.com
                           April A. Strahan
                           Bar No. 24056387
                           Email: april@ammonslaw.com
                           3700 Montrose Boulevard
                           Houston, Texas 77006
                           Telephone:      713-523-1606
                           Facsimile:      713-523-4159
                           Email: joy@ammonslaw.com

                           and

                           Mark W. Collmer
                           Bar No. 04626420
                           Email: mark@collmerlaw.com
                           THE COLLMER LAW GROUP
                           3700 Montrose Blvd., First Floor
                           Houston, Texas 77006
                           Telephone:   713-337-4040
                           Facsimile:   713-337-4044

                           ATTORNEYS FOR PLAINTIFFS




                             19
